        Case
        Case 2:15-md-02641-DGC
             2:15-md-02641-DGC Document
                               Document 1183-1 Filed03/17/16
                                        1108 Filed   03/24/16 Page
                                                               Page6 1ofof105




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 6                         IN THE UNITED STATES DISTRICT COURT

 7                                 FOR THE DISTRICT OF ARIZONA

 8   IN RE BARD IVC FILTERS                        No. MD-15-02641-PHX-DGC
     PRODUCTS LIABILITY LITIGATION
 9                                                 AMENDED MASTER SHORT FORM
      This Relates to:                             COMPLAINT FOR DAMAGES FOR
10                                                 INDIVIDUAL CLAIMS AND DEMAND
      Case No. 2:16-cv-00739-DGC
                                                   FOR JURY TRIAL
11

12          Plaintiff(s) named below, for their Complaint against Defendants named below,

13   incorporate the Master Complaint for Damages in MDL 2641 by reference (Doc. 364).

14   Plaintiff(s) further show the Court as follows:

15          1.     Plaintiff/Deceased Party:

16                  Elmer Steinbrunn
                   ________________________________________________________________

17          2.     Spousal Plaintiff/Deceased Party’s spouse or other party making loss of

18                 consortium claim:

19                 ________________________________________________________________

20          3.     Other Plaintiff and capacity (i.e., administrator, executor, guardian,

21                 conservator):

22                 ________________________________________________________________
     Case
     Case 2:15-md-02641-DGC
          2:15-md-02641-DGC Document
                            Document 1183-1 Filed03/17/16
                                     1108 Filed   03/24/16 Page
                                                            Page7 2ofof105




 1      4.    Plaintiff’s/Deceased Party’s state(s) [if more than one Plaintiff] of residence at

 2            the time of implant:

 3              Pennsylvania
              ________________________________________________________________

 4      5.    Plaintiff’s/Deceased Party’s state(s) [if more than one Plaintiff] of residence at

 5            the time of injury:

 6              Pennsylvania
              ________________________________________________________________

 7      6.    Plaintiff’s current state(s) [if more than one Plaintiff] of residence:

 8              Pennsylvania
              ________________________________________________________________

 9      7.    District Court and Division in which venue would be proper absent direct filing:

10             United States District Court for the Middle District of Pennsylvania
              ________________________________________________________________

11      8.    Defendants (check Defendants against whom Complaint is made):

12            X
                    C.R. Bard Inc.

13            
              X      Bard Peripheral Vascular, Inc.

14      9.    Basis of Jurisdiction:

15            
              X      Diversity of Citizenship

16                  Other: ________________________________________________

17            a.     Other allegations of jurisdiction and venue not expressed in Master

18                   Complaint:

19            ________________________________________________________________

20            ________________________________________________________________

21            ________________________________________________________________

22

                                                -2-
     Case
     Case 2:15-md-02641-DGC
          2:15-md-02641-DGC Document
                            Document 1183-1 Filed03/17/16
                                     1108 Filed   03/24/16 Page
                                                            Page8 3ofof105




 1      10.   Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a

 2            claim (Check applicable Inferior Vena Cava Filter(s)):

 3                 Recovery® Vena Cava Filter

 4            
              X     G2® Vena Cava Filter

 5                  G2® Express (G2®X) Vena Cava Filter

 6                  Eclipse® Vena Cava Filter

 7                  Meridian® Vena Cava Filter

 8                  Denali® Vena Cava Filter

 9                  Other: ____________________________________________________
10      11.   Date of Implantation as to each product:
11            ________________________________________________________________
               December 12, 2007

12            ________________________________________________________________
13      12.   Counts in the Master Complaint brought by Plaintiff(s):
14            X
                   Count I:      Strict Products Liability – Manufacturing Defect
15            
              X     Count II:    Strict Products Liability – Information Defect (Failure to
16                  Warn)
17            X
                   Count III:    Strict Products Liability – Design Defect
18            
              X     Count IV:     Negligence - Design
19            
              X     Count V:      Negligence - Manufacture
20            
              X     Count VI:     Negligence – Failure to Recall/Retrofit
21            
              X     Count VII:    Negligence – Failure to Warn
22            
              X     Count VIII: Negligent Misrepresentation
                                             -3-
     Case
     Case 2:15-md-02641-DGC
          2:15-md-02641-DGC Document
                            Document 1183-1 Filed03/17/16
                                     1108 Filed   03/24/16 Page
                                                            Page9 4ofof105




 1            
              X      Count IX:     Negligence Per Se

 2            
              X      Count X:      Breach of Express Warranty

 3            
              X      Count XI:     Breach of Implied Warranty

 4            
              X      Count XII:    Fraudulent Misrepresentation

 5            X
                    Count XIII: Fraudulent Concealment

 6            
              X                                          Pennsylvania
                     Count XIV: Violations of Applicable ________________ (insert state)

 7                   Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade

 8                   Practices

 9                  Count XV:     Loss of Consortium

10                  Count XVI: Wrongful Death

11                  Count XVII: Survival

12            
              X      Punitive Damages

13                  Other(s):     ___________________ (please state the facts supporting

14                   this Count in the space immediately below)

15                   __________________________________________________________

16                   __________________________________________________________

17                   __________________________________________________________

18                   __________________________________________________________

19                   __________________________________________________________

20      13.   Jury Trial demanded for all issues so triable?

21            
              X      Yes

22                  No

                                              -4-
        Case 2:15-md-02641-DGC
        Case 2:15-md-02641-DGC Document
                               Document 1108
                                        1183-1Filed
                                                 Filed 03/24/16Page
                                                     03/17/16    Page
                                                                    105ofof10
                                                                            5




 1            RESPECTFULLY SUBMITTED this ____
                                           24th day of March, 2016.

 2                                               [SIGNATURE   BLOCK]
                                                  STUEVE SIEGEL HANSON LLP

 3                                               By:       /s/ Todd E. Hilton
                                                       Todd    E. Hilton,
                                                       [Attorney          MO Bar #51388
                                                                    name/address]
                                                       460 Nichols Road, Suite 200
 4                                                     Kansas City, MO 64112
                                                       (816) 714-7100 - telephone
 5                                                      hilton@stuevesiegel.com

 6            I hereby certify that on this ____
                                            24th day of March, 2016, I electronically transmitted the

 7   attached document to the Clerk’s Office using the CM/ECF System for filing and transmittal

 8   of a Notice of Electronic Filing.

 9                                                     /s/ Todd E. Hilton
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     5220248v1/26997-0001
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